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                                                                                2018 Sep-24 AM 08:47
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


WIRELESS TELEMATICS, LLC,                 )
                                          )
      Plaintiff,                          )
                                          )   Civil Action Number
vs.                                       )    5:15-cv-00408-AKK
                                          )
OUTDOORLINK, INC., et al.,                )
      Defendants.                         )
                                          )


                                     ORDER
      The court GRANTS the parties’ joint motion to dismiss all claims with

prejudice, doc. 81. Pursuant to the terms of the parties’ settlement agreement, this

case is DISMISSED WITH PREJUDICE. Each party is to bear its own costs.

The clerk is DIRECTED to close this file.

      DONE the 24th day of September, 2018.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE
